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                                           Ex. C
      LYNN BAILEY                                                October 06, 2022
      UNITED STATES vs THE STATE OF GEORGIA                                     1

·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2

·3

·4·   ·IN RE· · · · · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · ·)
·5·   · · GEORGIA SENATE BILL 202· · )
· ·   · · · · · · · · · · · · · · · ·)
·6·   · · · · · Plaintiff,· · · · · ·)
· ·   ·vs.· · · · · · · · · · · · · ·) Civil Action No.
·7·   · · · · · · · · · · · · · · · ·) 1:21:MI-55555-JPB
· ·   · · · · · · · · · · · · · · · ·)
·8·   · · · · · Defendants.· · · · · )
· ·   · · · · · · · · · · · · · · · ·)
·9·   ·- - - - - - - - - -· - - - - -)

10

11· · · · · · · · · · · · ·DEPOSITION OF

12· · · · · · · · · · · · · LYNN BAILEY

13

14· · · · · ·Thursday, October 6, 2022, 9:28 a.m.(EST)

15

16

17

18

19

20· · · · · ·HELD AT:

21
· ·   · · · · · · USAO-SD. Ga.
22·   · · · · · · 600 James Brown Boulevard, Suite 200
· ·   · · · · · · Augusta, Georgia· 30901
23
· ·   · · · ---------------------------------------------
24·   · · · · ·WANDA L. ROBINSON, CRR, CCR, No. B-1973
· ·   · · · ·Certified Shorthand Reporter/Notary Public
25


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                                                            EsquireSolutions.com
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·1· ·provision in the final version of SB 202.
·2· · · · · · ·SB 202, or Senate Bill 202, bans
·3· ·distributing food and water to voters in line when
·4· ·the voters are within 150 feet of the outer edge of
·5· ·the polling place building.· Would you agree?
·6· · · · A· · I would.
·7· · · · Q· · Prior to the passage of SB 202, do you
·8· ·recall any volunteers handing out food or water or
·9· ·other refreshments to voters waiting in line in
10· ·Richmond County?
11· · · · A· · I recall being contacted by different
12· ·groups to provide that to voters, and my instruction
13· ·was always keep it outside 150 feet, and then do
14· ·what you want.
15· · · · Q· · Do you --
16· · · · A· · As long as it's legal.
17· · · · Q· · Go ahead.
18· · · · · · ·Do you remember which organizations
19· ·contacted you about this?
20· · · · A· · I don't.· We're going back even to 2016,
21· ·you know, in some instances, and I really don't.
22· ·Some were church organizations.· Some were civic
23· ·groups.· So different organizations.· I never kept a
24· ·list.
25· · · · · · ·But I do know that we had -- moving into


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·1· ·2022, it was much more pervasive and broad-based,
·2· ·these requests were.· Just as requests for musicians
·3· ·wanting to come and play music, and things like
·4· ·that.· So there was a wide array of different things
·5· ·being offered to -- you know, at the polling place.
·6· · · · · · ·And my board's position across the board
·7· ·was always that whatever those types of activities
·8· ·are are fine but they need to be 150 feet away.
·9· · · · · · ·So we've always considered that as truly a
10· ·buffer zone for voters.
11· · · · Q· · You mentioned church organizations, I
12· ·think, that wanted to engage in what I'll call line
13· ·warming efforts.
14· · · · A· · Uh-huh.· (Affirmative.)
15· · · · Q· · To your knowledge, were these often black
16· ·churches?
17· · · · A· · Some were.
18· · · · Q· · Most?
19· · · · A· · I would say most.
20· · · · Q· · The civic groups that you mentioned
21· ·wanting to engage in these, again, line warming
22· ·efforts, were many of them black-led civic groups?
23· · · · A· · Most.
24· · · · Q· · The music that you mentioned before, were
25· ·the musicians mostly black if you saw them?


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·1· · · · · · · · · · ·C E R T I F I C A T E

·2

·3· ·STATE OF GEORGIA:

·4· ·FULTON COUNTY:

·5

·6· · · · · · · I hereby certify that the foregoing

·7· ·transcript of LYNN BAILEY was taken down, as stated

·8· ·in the caption, and the questions and answers

·9· ·thereto were reduced by stenographic means under my

10· ·direction;

11· · · · · · ·That the foregoing Pages 1 through

12· ·223 represent a true and correct transcript of

13· ·the evidence given upon said hearing;

14· · · · · · ·And I further certify that I am not of kin

15· ·or counsel to the parties in this case; am not in

16· ·the regular employ of counsel for any of said

17· ·parties; nor am I in anywise interested in the

18· ·result of said case.

19

20· · · · · IN WITNESS WHEREOF, I have hereunto

21· ·subscribed my name this 12th day of October, 2022.

22

23· · · · · · ·_____________________________________

24· · · · · · ·Wanda L. Robinson, CRR, CCR No. B-1973
· · · · · · · · · My Commission Expires 10/11/2023
25


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